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                      UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF KANSAS


                                         )
 COLENE L. STRONG                        )
                                         )
         Plaintiff,                      )
                                         )
            vs.                          )
                                         )
 ATCHISON HOSPITAL                       )
 ASSOCIATION and JANET                   )             Case No.:
 RAWSON ENZBRENNER                       )
                                         )          JURY TRIAL DEMANDED
         Defendants.                     )
                                         )



             COMPLAINT AND DEMAND FOR JURY TRIAL



       For her Complaint against Defendants Atchison Hospital Association and

Janet Rawson Enzbrenner, Plaintiff Colene L. Strong alleges as follows:

                               NATURE OF CASE

       Plaintiff was taken to Atchison Hospital after suffering a violent sexual

assault. In the course of her evaluation and treatment, Plaintiff entrusted the

hospital with detailed information about the assault, including information about

the identity of her assailant. Instead of hewing to its legal and ethical duty to act

in the patient’s best interest, the hospital betrayed Plaintiff’s trust by divulging



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     intimate details about her evaluation and treatment to none other than Plaintiff’s

     assailant. Defendants’ breach of trust and invasion of privacy unleashed a barrage

     of harassment from the assailant and hospital staff. The harassment escalated to

     violence when, approximately six months later, Plaintiff was sexually assaulted

     by the same man a second time.

                           FACTS COMMON TO ALL CAUSES

                             PARTIES, JURISDICTION AND VENUE


1)   Plaintiff, Colene L. Strong (“Plaintiff”), is a citizen of the State of Missouri and is

     domiciled in Rushville, Missouri.

2) Defendant Atchison Hospital Association (“Atchison Hospital”) is a citizen of the

     State of Kansas.

3) Atchison Hospital is a privately owned Kansas nonprofit corporation with its

     principal place of business at 800 Raven Hill Drive, Atchison, Kansas.

4) Atchison Hospital may be served with process through its registered agent,

     SpenServ, Inc., at 9401 Indian Creek Pkwy., Ste. 700, Overland Park, Kansas 66210.

5) Defendant Janet Rawson Enzbrenner (“Enzbrenner”) is a citizen of the State of

     Kansas and is domiciled in Atchison, Kansas. Enzbrenner may be served with

     process at 12210 Sedgwick Ct., Atchison, Kansas 66002.




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6) Diversity jurisdiction is proper pursuant to 28 U.S.C. § 1332(a)(1) because the

    matter in controversy exceeds the sum of $75,000 and is between citizens of

    different States.

7) Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 because

    Defendants reside in this judicial district and a substantial part of the events or

    omissions giving rise to Plaintiff’s claims occurred in this judicial district.

           PLAINTIFF’S EVALUATION AND TREATMENT AT ATCHISON HOSPITAL

8) Plaintiff was sexually assaulted the night of May 26, 2017.

9) Soon after the assault Plaintiff was seen as a patient at Atchison Hospital, where

    hospital staff evaluated her and administered a rape‐kit examination to collect

    medical and forensic evidence.

10) In the course of her evaluation and treatment at Atchison Hospital, Plaintiff

    identified her assailant to hospital staff. Concerned about her privacy, safety and

    dignity, Plaintiff was adamant that no information concerning her evaluation and

    treatment, or the identity of her assailant, be disclosed to third parties.

11) The individually identifiable health information collected in the course of

    Plaintiff’s evaluation and treatment at Atchison Hospital was entered in Plaintiff’s

    electronic and/or paper medical record and was kept in an unsecured location, or

    stored in an unsecured automated system, at Atchison Hospital.



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12) The individually identifiable health information collected in the course of

   Plaintiff’s evaluation and treatment at Atchison Hospital is information of a kind

   that is afforded protection under the Health Insurance Portability and

   Accountability Act (HIPAA) and privacy rules and regulations promulgated by

   the United States Department of Health and Human Services (HHS).

13) As a covered entity, Atchison Hospital is subject to the HIPAA and HHS rules,

   regulations, and standards governing patient privacy protection. These rules,

   regulations, and standards establish the national standard for protection of patient

   medical records and other confidential and private health information.

                                 THE PRIVACY VIOLATION

14) During or soon after Plaintiff’s evaluation and treatment at Atchison Hospital,

   Enzbrenner, an x‐ray technician employed by the hospital, gained access to

   Plaintiff’s individually identifiable health information, including information

   relating to Plaintiff’s sexual assault and the identity of her assailant.

15) After   accessing   Plaintiff’s   individually   identifiable   health     information,

   Enzbrenner contacted Plaintiff’s assailant and advised the man that Plaintiff had

   accused him of sexual assault. Enzbrenner disclosed other private information

   relating to Plaintiff’s evaluation and treatment at Atchison Hospital as well.

16) The individually identifiable health information Enzbrenner communicated to

   Plaintiff’s assailant included intimate facts relating to Plaintiff’s private life that

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    were not at that time known in the community, contained in a public record, or

    otherwise available to the public.

17) Plaintiff did not consent to release or disclosure of any information relating to her

    evaluation and treatment at Atchison Hospital, the sexual assault that brought her

    to the hospital, or the identity of her assailant.

18) Enzbrenner accessed and disclosed Plaintiff’s individually identifiable health

    information while acting within the scope of her employment or while performing

    acts incidental to her employment at Atchison Hospital.

19) As an Atchison Hospital x‐ray technician, Enzbrenner was authorized to access

    and review patient records and to communicate confidential and private health

    information to patients and third parties.

20) Enzbrenner’s actions in connection with Plaintiff’s confidential and private health

    information were of the same general nature and character as those she was

    authorized to perform in the course of her employment as an x‐ray technician at

    Atchison Hospital.

21) Enzbrenner’s position as an employee of Atchison Hospital provided her with the

    opportunity and means to divulge confidential and private health information to

    unauthorized third parties.

22) Plaintiff belongs to the general category of individuals to whom Defendants owed

    a duty of confidentiality and privacy protection.

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23) On information and belief, members of Atchison Hospital’s medical and/or

   management staff had actual knowledge of, or were willfully blind to, the facts

   surrounding Enzbrenner’s disclosure of Plaintiff’s confidential and private health

   information soon after the incident occurred.

24) The degree of severity of Enzbrenner’s privacy breach warranted immediate

   investigation and corrective action to mitigate the foreseeable risk of imminent

   harm resulting from the breach.

25) No meaningful corrective action was taken by Atchison Hospital to address

   Enzbrenner’s privacy breach or to mitigate the injurious consequences of the

   breach until after Plaintiff met with Atchison Hospital in late September 2017,

   nearly four months after the breach occurred.

26) After the September 2017 meeting, Atchison Hospital managerial staff conducted

   an investigation, interviewed several employees, and finally terminated

   Enzbrenner’s employment at the hospital.

27) Not long after her employment at Atchison Hospital was terminated, Enzbrenner

   was hired to work as an x‐ray technician at Saint Luke’s Cushing Hospital in

   Leavenworth County, Kansas.

28) On information and belief, Atchison Hospital gave assistance to Enzbrenner in

   obtaining new employment by providing a positive reference and/or by



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   neglecting to communicate facts or providing misleading facts relating to

   Enzbrenner’s conduct while employed by Atchison Hospital.

29) As of November 2017, Atchison Hospital had not implemented adequate policies

   and procedures, education and training, or administrative and physical

   safeguards to protect patients against intentional or unintentional disclosure of

   their confidential and private health information.

30) On or about November 2, 2017, Atchison Hospital’s chief executive officer sent a

   letter to Plaintiff expressing deep regret and apologizing for the hospital’s privacy

   breach. A copy of the letter is attached to this pleading as Exhibit “A”.

31) Under HIPAA, Atchison Hospital was required to provide without unreasonable

   delay individual notice to Plaintiff of any impermissible use or disclosure of her

   protected health information. Such notice was to include a brief description of the

   breach; a description of the type of information involved in the breach; steps taken

   by the hospital to protect Plaintiff from potential harm; and a brief description of

   what was being done to investigate the breach, mitigate the harm, and prevent

   future breaches.

32) Under HIPAA, Atchison Hospital was required to provide notice to the secretary

   of HHS of the impermissible disclosure of Plaintiff’s protected health information.




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              THE CONSEQUENCES OF DEFENDANTS’ PRIVACY VIOLATION

33) After obtaining Plaintiff’s confidential and private health information from

   Enzbrenner, Plaintiff’s assailant relentlessly harassed Plaintiff through text

   messages, social media, and phone calls. Such communications were highly

   threatening and contained graphic language and pornographic content. The

   assailant also stalked Plaintiff in public and at her home.

34) In coordination with Plaintiff’s assailant, Enzbrenner intruded upon Plaintiff’s

   solitude by repeatedly hounding and harassing Plaintiff by phone and text.

   Enzbrenner also denied that she had disclosed information relating to Plaintiff’s

   evaluation and treatment at Atchison Hospital. These communications occurred

   while Enzbrenner was employed by Atchison Hospital.

35) On or about November 4, 2017, soon after Enzbrenner’s employment at Atchison

   Hospital had been terminated, Plaintiff’s assailant sexually assaulted Plaintiff a

   second time.

36) Plaintiff has been exposed to public disgrace and humiliation in the community

   as a direct and foreseeable consequence of Defendants’ wrongful disclosure of her

   confidential and private health information.

37) Plaintiff has suffered, and will continue to suffer, economic and noneconomic

   injury as a direct and foreseeable consequence of Defendants’ wrongful disclosure

   of her confidential and private health information, including extreme mental and

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    emotional distress, shame, humiliation, expense associated with medical and

    psychiatric treatment, lost income, pain and suffering, loss of enjoyment, and

    reputational injury.


                                   CAUSES OF ACTION

                              COUNT I: Invasion of Privacy

38) Plaintiff incorporates by this reference the preceding paragraphs of this pleading.

39) Plaintiff had a privacy interest in, and the right to control, the confidential and

    private health information collected in the course of her evaluation and treatment

    at Atchison Hospital; and Atchison Hospital had a corresponding legal and ethical

    duty to protect that information from unauthorized disclosure in any form.

40) Enzbrenner, while acting within the scope of her employment or while

    performing acts incidental to her employment, wrongfully disclosed confidential

    and private health information relating to Plaintiff’s sexual assault to the man

    alleged to have perpetrated the assault.

41) Defendants knew or should have known that disclosure of individually

    identifiable, confidential, and private health information about Plaintiff’s sexual

    assault to the man alleged to have perpetrated the assault would be highly

    offensive and would present an unwarranted risk of grave physical and/or

    emotional harm to Plaintiff.



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42) The disclosure of Plaintiff’s confidential and private health information was a

    willful, intentional, wanton, or malicious act done in blatant disregard for

    Plaintiff’s privacy, safety, dignity and welfare.

43) Plaintiff did not consent to or authorize disclosure of her private health

    information, and neither Defendant can assert a privilege or justification for

    disclosure of such information.

44) Atchison Hospital either expressly or impliedly ratified the wrongful disclosure

    of Plaintiff’s protected health information by, among other things, failing to

    investigate, repudiate, or take corrective action to address the wrongful conduct

    in a timely manner and/or by assisting Enzbrenner in obtaining new employment

    by providing a positive recommendation or failing to disclose facts relating to her

    wrongful conduct while she was employed at Atchison Hospital.

45) Plaintiff has suffered and will continue to suffer economic and noneconomic

    injuries as a direct and foreseeable consequence of Defendants’ breach of

    Plaintiff’s privacy.

                           COUNT II: Breach of Fiduciary Duty

46) Plaintiff incorporates by this reference the preceding paragraphs of this pleading.

47) After experiencing the extreme trauma of a violent sexual assault, Plaintiff came

    to Atchison Hospital in a compromised position; and in seeking evaluation and

    treatment at the hospital, Plaintiff reposed special confidence and trust in hospital

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    staff to perform their professional duties with fidelity and due regard for her

    privacy, safety, dignity and welfare.

48) As a fiduciaries, Defendants were obliged to remain loyal to Plaintiff’s interests,

    to discharge their professional duties with care, and to refrain from misusing or

    disclosing confidential and private information they received in connection with

    Plaintiff’s evaluation and treatment at Atchison Hospital.

49) Defendants breached their fiduciary duty to Plaintiff by disclosing highly

    intimate, confidential and private information concerning her sexual assault to the

    man alleged to have perpetrated the assault.

50) Plaintiff has suffered and will continue to suffer economic and noneconomic

    injuries as a direct and foreseeable consequence of Defendants’ fiduciary breach.

                                  COUNT III: Negligence

51) Plaintiff incorporates by this reference the preceding paragraphs of this pleading.

52) Atchison Hospital has an affirmative duty to maintain adequate standards and

    protocols for the protection of patient confidentiality and privacy including

    without limitation standards and protocols for staff training and education;

    HIPPA compliance, reporting and accountability; and data management,

    collection, use and disclosure limitations.




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53) During the period in question, Atchison Hospital did not have adequate

   standards and protocols in place to protect patient confidentiality and privacy,

   particularly in connection with evaluation and treatment of sexual assault victims.

54) Atchison Hospital’s failure to maintain adequate standards and protocols to

   protect patient confidentiality and privacy caused or contributed in causing the

   wrongful disclosure of Plaintiff’s confidential and private health information.

55) Plaintiff has suffered and will continue to suffer economic and noneconomic

   losses as a direct and foreseeable consequence of Atchison Hospital’s failure to

   maintain adequate standards and protocols to protect patient confidentiality and

   privacy.

56) Atchison Hospital has an affirmative duty to exercise due diligence and care in

   the hiring, supervision, training, and retention of its medical staff and agents.

57) Atchison Hospital knew or had reason to know that Enzbrenner’s employment

   presented an undue risk of wrongful disclosure of Plaintiff’s confidential and

   private health information.

58) Atchison Hospital’s negligent retention, training, or supervision of Enzbrenner

   caused or contributed in causing the wrongful disclosure of Plaintiff’s confidential

   and private health information.




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59) Plaintiff has suffered and will continue to suffer economic and noneconomic

    losses as a direct and foreseeable consequence of Atchison Hospital’s negligent

    retention, training, or supervision of Enzbrenner.

                             COUNT IV: Punitive Damages

60) Plaintiff incorporates by this reference the preceding paragraphs of this pleading.

61) The tortious acts Enzbrenner committed in connection with Plaintiff’s confidential

    and private health information were reckless, willful, wanton, or malicious and

    amounted to a fiduciary breach.

62) Enzbrenner’s tortious acts were committed while Enzbrenner was acting within

    the scope of her employment, or while she was performing acts incidental to her

    employment, at Atchison Hospital.

63) Atchison Hospital either expressly or impliedly authorized or ratified

    Enzbrenner’s tortious conduct by failing to investigate, repudiate, reprimand,

    report, or take corrective action to address Enzbrenner’s tortious acts in a timely

    manner and/or by assisting Enzbrenner in obtaining new employment by

    providing a positive recommendation or by failing to disclose facts relating to her

    wrongful conduct while employed at Atchison Hospital.

64) Atchison Hospital was grossly negligent or reckless in employing and/or retaining

    Enzbrenner.



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65) Atchison Hospital was grossly negligent or reckless in failing to implement or

   maintain adequate standards and protocols for the protection of patient

   confidentiality and privacy.

66) Plaintiff is entitled to the maximum award of punitive damages.

                                  PRAYER FOR RELIEF

             WHEREFORE, in consequence of Defendants’ wrongful and injurious

   conduct, undertaken individually or in combination, Plaintiff is entitled to

   compensatory, consequential and general damages in an amount in excess of

   $75,000 for each separate Count alleged herein along with punitive damages and

   such other and further relief as the Court may deem necessary, proper, just, and

   equitable.

                                  JURY TRIAL DEMAND

         Plaintiff requests a trial by jury of all causes and issues presented in this civil

   action.

                           PLACE OF TRIAL DESIGNATION

         Pursuant to D. Kan. Rule 40.2., Plaintiff designates Kansas City, Kansas, as

   the place of trial.




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                                Respectfully submitted,

                                MORRIS, LAING, EVANS, BROCK
                                 & KENNEDY, CHTD.


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